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                   EXHIBIT B
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From: Wasserman, Arielle <AWasserman@coleschotz.com>
Sent: Friday, January 17, 2025 9:22 AM
To: Min, Jay H. <jmin@rosenbergestis.com>
Cc: Blum, Matthew S. <mblum@rosenbergestis.com>; Melzer, Jason <JMelzer@coleschotz.com>
Subject: RE: Tecspec LLC, et al. v. Donnolo, et al. (1:24-cv-08077-JHR-RWL)

Hi Jay,

Good morning. Please see below five additional matters where Tecspec needs information in order to
become operational:

    1. Where is the code located for the SQL program that runs the assembly line?
    2. Information regarding and location of the central panel program and name and phone number
       of panel builder;
    3. Information regarding and location of the fin tube programs drawings and step files;
    4. Information regarding and location of the robot arm programs and suction cup assembly; and
    5. Where is the Cad program and/or Master Cam?

We will send you a draft of the joint proposed letter shortly.

Thank you,

Arielle




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